                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

DARRELL EDEN, on behalf of himself and              )
all others similarly situated,                      )
                                                    )
       Plaintiff,                                   )       No. 1:18-cv-00217-JRG-CHS
                                                    )
v.                                                  )       CLASS ACTION
                                                    )       COMPLAINT PURSUANT TO
BRADLEY COUNTY, TENNESSEE;                          )       42.U.S.C. § 1983
SHERIFF ERIC WATSON, in his official and            )
individual capacities; CAPTAIN GABRIEL              )       DEMAND FOR JURY TRIAL
THOMAS, in his official and individual              )
capacities; JOHN DOE, in his official and           )
individual capacities; JANE DOE, in her official    )
and individual capacities,                          )
                                                    )
       Defendants.                                  )


                                           ANSWER


       Defendants Bradley County, Tennessee, Eric Watson, and Gabriel Thomas, by and

through counsel, file with the Court their Answer to Plaintiff’s Class Action Complaint as

follows:

       In response to the individual allegations of Plaintiff’s Class Action Complaint,

Defendants answer as follows:

                                      INTRODUCTION

       1.      Paragraph 1 fails to make an allegation of fact that can be admitted or denied but

rather states a conclusion of law.

       2.      In response to paragraph 2, it is admitted that Plaintiff is a former inmate at the

Bradley county Jail.

       3.      Defendants deny the allegations of paragraph 3.




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          4.      Defendants deny the allegations of paragraph 4.

          5.      Defendants deny the allegations of paragraph 5.

          6.      Defendants deny the allegations of paragraph 6.

          7.      Defendants deny the allegations of paragraph 7.

          8.      Defendants deny the allegations of paragraph 8.

                                   JURISDICTION AND VENUE

          9.      In response to paragraph 9, Defendants do not object to subject matter jurisdiction

in this Court.

          10.     In response to paragraph 10, Defendants do not object to the Court’s supplemental

jurisdiction.

          11.     In response to paragraph 11, Defendants do not object to venue in this Court.

                PARTIES AND OTHER PERSONS RELEVANT TO THIS ACTION

          12.     In response to paragraph 12, it is admitted that Plaintiff Darrell Eden was

formerly confined in the Bradley County Jail. The remaining allegations of paragraph 12 are

denied.

          13.     Defendants admit the allegations of paragraph 13.

          14.     Defendants admit the allegations of paragraph 14.

          15.     Defendants admit the allegations of paragraph 15.

          16.     Defendants admit the allegations of paragraph 16.

          17.     The allegations of paragraph 17 are directed to another party identified in this

case and no response is required of these Defendants.

          18.     The allegations of paragraph 18 are directed to another party identified in this

case and no response is required of these Defendants.



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        19.     In response to paragraph 19, it is admitted that Defendant Watson and Captain

Thomas acted within the course and scope of their employment.

                                                FACTS

                Applicable Facts Concerning the Bradley County Government

        20.     Defendants admit the allegations of paragraph 20.

        21.     Defendants admit the allegations of paragraph 21.

        22.     Defendants admit the allegations of paragraph 22.

        23.     In response to paragraph 23, it is admitted that the County Mayor’s primary

responsibility is financial management. There remaining allegations of paragraph 23 are denied

as stated.

        24.     Defendants are unable to admit or deny the allegations of paragraph 24 because

they do not understand what is meant by “budget, in the aggregate.”

        25.     In response to paragraph 25, it is admitted that the sheriff is an elected position

and that the sheriff’s repsonsibilities include the jail.

        26.     In response to paragraph 26, it is admitted that the Sheriff of Bradley County is

responsible for the policies and procedures regarding the county jail. In further response, it is

further admitted that the day to day operation of the jail is carried out by various other county

employees.

        27.     Defendants admit generally the allegations of paragraph 27.

        28.     In response to paragraph 28, the same is denied as alleged. In further response,

the Sheriff may have communications with the County Mayor and/or County Commission from

time to time regarding budgetary issues.




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       29.      Paragraph 29 fails to make an allegation of fact but rather states a conclusion of

law. In further response, it appears that paragraph 29 contains an accurate representation of the

referenced Code section.

       30.      Paragraph 30 fails to make an allegation of fact but rather states a conclusion of

law. In further response, paragraph 30 appears to include an accurate statement of the referenced

Code section.

       31.      The allegations of paragraph 31 are admitted.

       32.      The allegations of paragraph 32 are admitted.

       33.      In response to paragraph 33, Defendants admit only that Plaintiffs attached a chart

as Exhibit 1 to the Complaint.

             Applicable Obligations of Counties to Prisoners Under Tennessee Law and
                         Reimbursement for State Prisoner Medical Care

       34.      Paragraph 34 fails to make an allegation of fact but rather states a conclusion of

law.

       35.      Paragraph 35 fails to make an allegation of fact but rather states a conclusion of

law.

       36.      Paragraph 36 fails to make an allegation of fact but rather states a conclusion of

law.

       37.      Paragraph 37 fails to make an allegation of fact but rather states a conclusion of

law.

       38.      Paragraph 38 fails to make an allegation of fact but rather states a conclusion of

law.

       39.      Defendants admit the allegations of paragraph 39.

       40.      Defendants admit the allegations of paragaph 40.


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       41.     Defendants admit the allegations of paragraph 41.

       42.     Defendants admit the allegations of paragraph 42.

       43.     Defendants admit the allegations of paragraph 43.

       44.     Defendants admit the allegations of paragraph 44.

       45.     Defendants admit the allegations of paragraph 45.

       46.     Defendants admit the allegations of paragraph 46.

       47.     Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 47; however, it is admitted that costs for housing state prisoners are paid

to local jails. In further response, Defendant Bradley County does not contract with the state to

house prisoners.

                                       Capacity of the Jail

       48.     Defendants admit the allegations of paragraph 48.

       49.     On information and belief, the allegations of paragraph 49 are admitted.

       50.     In response to paragraph 50, it is admitted that Bradley County owns the Bradley

County Jail and that the jail as built was built to house 408 inmates.

       51.     In response to paragraph 51, Defendants do not know what “all times relevant to

this lawsuit” means. In further response, it is admitted that the Bradley County Jail houses

federal inmates and state prisoners but it is denied that Bradley County has contracts with the

state to house state prisoners.

       52.     In response to paragraph 52, it is admitted that housing federal prisoners results in

revenue. Defendants are unable to admit or deny that paragraph 52 is an accurate quote because

the Complaint fails to include a reference source for the same.




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       53.       In response to paragraph 53, it is admitted that there was a new contract with a

rate increase.

       54.       Defendants admit the allegations of paragraph 54.

       55.       Defendants admit the allegations of paragraph 55.

       56.       In response to paragraph 56, it is admitted that at various times the Bradley

County Jail may have excess or lesser capacity but Defendants lack sufficient information or

knowledge to know what Plaintiffs mean by “at all times relevant to this lawsuit.”

          Personnel Issues at the BCSO/Jail - Overcrowding, Understaffing, and Lack of
                                       Adequate Training

       57.       In response to paragraph 57, the information within the same is not readily

available and therefore Defendants are unable to admit or deny the same at this time.

       58.       Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 58. In further respone, paragraph 58 does not include the

referenced testimony or include the entirety of the context of the testimony.

       59.       Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 59. In further respone, paragraph 59 does not include the

referenced testimony or include the entirety of the context of the testimony.

       60.       Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 60.

       61.       Defendants admit the allegations of paragraph 61.

       62.       Upon information and belief Defendnats deny the allegaiotns of paragraph 62.

       63.       Defendants admit the allegatios of paragraph 63.

       64.       Defendants admit the allegations of paragraph 64.

       65.       Defendants admit the allegations of paragraph 65.


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          66.   In response to paragraph 66, it is admitted the average number was estimated at

520.

          67.   In response to paragraph 67, it is admitted the average number was estimated as

stated.

          68.   Defendants lack sufficient information or knowledge to form a belief as to

paragraph 68.

          69.   The allegations of paragraph 69 are denied.

          70.   Defendants lack sufficient information or knowledge to form a belief as to

paragraph 70.

          71.   Defendants lack sufficient infomration or knoweldge to form a belief as to

paragraph 71.

          72.   In response to paragraph 72, it is admitted on information and belief that the

referenced budget number is accurate as all encompassing and that the salary increases stated are

accurate.

          73.   Defendants deny the allegations of paragraph 73.

          74.   Defendants deny the allegations of paragraph 74.

          75.   Defendants deny the allegations of paragraph 75.

                             Medical Care Offered at the Jail by QCHC

          76.   Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 76. In further response, QCHC provides medical care at

the Bradley County jail.

          77.   The allegations of paragraph 77 are admitted except that it is not known if the

amount stated is accurate.



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        78.    In response to paragraph 78, the referenced document speaks for itself.

        79.    The allegations of paragraph 79 are admitted except that the HAS does not have

the emphasis as set forth in the complaint.

        80.    Defenadnts admit the allegations of paragraph 80.

        81.    Defendants deny the allegations of paragraph 81.

        82.    The allegations of paragraph 82 are admitted but only for the referenced contract

of 2013.

        83.    The allegations of paragraph 83 are admitted but only for the referenced contract

of 2013.

        84.    Defendants admit the allegations of paragraph 84.

        85.    Defendants admit the allegations of paragraph 85 for 2013 through 2017 but are

unable at this time to admit or deny as to 2012-2013.

        86.    In response to paragraph 86, it is admitted the HSA limits the amounts paid by

QCHC but does not limit treatment or amounts that may ultimately be owed for treatment.

        87.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 87.

        88.    In response to paragraph 88, it is admitted that bid proposals were sought and that

QCHC was chosen.

        89.    Defendants admit the allegations of paragraph 89.

        90.    Defendants are unable to admit or deny the allegations of paragraph 90 at this

time.

        91.    Defendants admit the allegations of paragraph 91.




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            92.    In response to paragraph 92, it is admitted the referenced topics were discussed in

general.

            93.    Defendants lack sufficient information or belief to admit or deny the allegations

of paragraph 93.

            94.    Defendants lack sufficient information or belief to admit or deny the allegations

of paragraph 94.

            95.    In response to paragaph 95, it is admitted that jail inmates have co-pays to be paid

if funds are available, but deny that such payment is a prerequisite for medical care. It is denied

inmates are taken for emergency room care by police vehicle.

            96.    In response to paragraph 96, it is admitted ambulances were previously located at

the jail.

            97.    Defendants deny the allegations of paragraph 97 as stated.

            98.    In response to paragraph 98, Defendants are uncertain as to the meaning of

“principally staffed” but admit that the jail is staffed by LPNs and an RN on a full-time basis.

            99.    Defendants deny the allegations of paragraph 99.

            100.   Defendants deny the allegations of paragraph 100.

            101.   Defendants deny the allegations of paragraph 101.

            102.   In response to paragraph 102, it is admitted that family members have

complained.

                     Public Service Record of Eric Watson Prior to His Election
                                    as Sheriff of Bradley County

            103.   Defendants admit the allegations of paragraph 103.

            104.   Defendants admit the allegations of paragraph 104.

            105.   Defendants admit the allegations of paragraph 105.


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       106.    Defendants admit the allegations of paragraph 106.

       107.    Defendants admit the allegations of paragraph 107.

       108.    Defendants deny the allegations of paragraph 108.

       109.    Defendants deny the allegations of paragraph 109.

              Law Enforcement and Corrections Credentials of Gabe Thomas

       110.    Defendants admit the allegations of paragraph 110.

       111.    Defendants admit the allegations of paragraph 111.

              Eric Watson’s Election as Sheriff and Immediate Policy Changes

       112.    Defendants admit the allegations of paragraph 112.

       113.    Defendants deny the allegations of paragraph 113.

       114.    Defendants admit the substance of the statements in paragraph 114.

       115.    In response to paragraph 115, it is admitted that Defendant Watson planned on

improvements to fix the roof, update the kitchen, and update the video surveillance.

       116.    Defendants admit the allegations of paragraph 116.

       117.    Defendants admit the allegations of paragraph 117 for the year of increase.

       118.    In response to paragraph 118, it ias aadmitted that Defendant Watson was

committed to improvement without the necessity of a tax increase.

       119.    Defendants deny the allegations of paragraph 119 as alleged.

       120.    Defendants deny the allegations of paragraph 120 as alleged.

       121.    Defendants admit the allegations of paragraph 121.

  Recurring Issues in the Bradley County Jail During Defendant Watson’s Tenure (and
  After) – Failed TCI Inspections, Overcrowding, Jail Refusal of Arrestees, and Prisoner
                    Injuries, Untreated Illnesses, Deaths, and Lawsuits

       122.    Defendants deny the allegations of paragraph 122.



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       123.   Defendants deny the allegations of paragraph 123 as alleged.

       124.   Defendants object to the allegations of paragraph 124 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       125.   Defendants object to the allegations of paragraph 125 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       126.   Defendants object to the allegations of paragraph 126 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       127.   Defendants object to the allegations of paragraph 127 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       128.   Defendants object to the allegations of paragraph 128 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       129.   Defendants object to the allegations of paragraph 129 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       130.   Defendants object to the allegations of paragraph 130 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       131.   Defendants object to the allegations of paragraph 131 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       132.   Defendants lack sufficient information or knowledge to either admit or deny the

allegations of paragraph 132.

       133.   Defendants object to the allegations of paragraph 133 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       134.   Defendants object to the allegations of paragraph 134 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.



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       135.    Defendants object to the allegations of paragraph 135 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       136.    Defendants deny the allegations of paragraph 136 as stated.

       137.    Defendants deny the allegations of paragraph 137 as stated but admit that Mayor

Davis recevied a copy of the TCI correspondence.

       138.    Defendants deny the allegations of paragraph 138 as alleged.

       139.    In response to paragraph 139, it is admitted that at times the jail was overcrowded.

       140.    In response to the allegations of paragraph 140, it is admitted that inmates were

not in writing acknowleding receipt of the referenced material.

       141.    Defendants deny the allegations of paragraph 141 as alleged.

       142.    In response to paragraph 142, the referenced report speaks for itself. In further

response, however, it is averred that the referenced report stated a preference as opposed to a

standard.

       143.    In response to the allegations of paragraph 143, it is admitted that inmates were

not acknowleding the same in writing.

       144.    In response to paragraph 144, the referenced report speaks for itself but on

information and knowledge the allegations of the same are admitted.

       145.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 145.

       146.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 146. In further response, recommendations have been made, which are

separate from a standard.

       147.    The allegations of paragraph 147 are denied.



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       148.    The allegations of paragraph 148 are denied as stated.

       149.    In response to paragraph 149, it is admitted that Commissioner Rawls addressed

the stated issues although Defendants lack sufficient information or knowledge to admit or deny

the specific statements in paragraph 149.

       150.    Defendants deny the allegations of paragraph 150 as alleged.

       151.    Defendants object to the allegations of paragraph 151 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       152.    Defendants object to the allegations of paragraph 151 pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure.

       153.    In response to paragraph 153, it is admitted that the jail was inspected on or about

the time referenced and that prior issues had been corrected.

       154.    The allegations of paragraph 154 are admitted.

       155.    The allegations of paragraph 155 are denied.

       156.    The allegations of paragraph 156 are admitted as it relates to maintenance.

       157.    The allegations of paragraph 157 are admitted.

       158.    Defendants lack sufficient information or knowledge to respond to the allegations

of paragraph 158.

       159.    The allegations of paragraph 159 are denied.

       160.    Defendants are unable to admit or deny the allegations of paragraph 160.

       161.    The allegations of paragraph 161 are denied.

       162.    Defendants are unable to admit or deny the allegations of paragraph 162.

       163.    The allegations of paragraph 163 are denied.




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        164.   Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 164.

        165.   Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 165.

        166.   The allegations of paragraph 166 are admitted as it relates to Mr. Hudgins having

an injury that required medical treatment prior to him being booked into the jail. In further

response, Defendants object to paragraph 166 pursuant to Rule 12(f) of the Federal Rules of

Civil Procedure.

        167.   In response to paragraph 167, it is admitted that Mr. Hudgins was not booked into

the jail based on what appeared to be a need for medical treatment in advance of the same.

Defendants lack sufficient information or knowledge at this time to form a belief as to what

information was provided to Lt. Edwards. In further response, Defendants object to paragraph

167 pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.

        168.   In response to the allegations of paragraph 168, Defendants lack sufficient

information or knowledge to form a belief as to what the CPD believed.

        169.   In response to paragraph 169, it is admitted that the referenced meeting occurred

although Defendants are unable to admit or deny at this time that the quoted portion of the policy

is accurate.

        170.   In response to paragraph 170, Defendants are unable to admit or deny the same at

this time.

        171.   The allegations of paragraph 171 are denied.

        172.   The allegations of paragraph 172 are denied.




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        173.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of paragraph 173.

        174.    The allegations of paragraph 174 are denied.

        175.    The allegations of paragraph 175 are admitted.

        176.    In response to paragraph 176, it is admitted that during the presentation medical

costs were discussed although the specific amounts are not known.

        177.    In response to paragraph 177, it is admitted only that Dan Gilley left a position he

held with the jail. It is denied that Mr. Gilley was the director of the jail.

        178.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 178.

        179.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 179.

        180.    In response to paragraph 180, it is admitted that these issues were addressed but it

is not known which meeting is being referenced.

        181.    In response to paragraph 181, it is admitted that Commissioner Rawls addressed

the stated issues although Defendants lack sufficient information or knowledge to admit or deny

the specific statements in paragraph 181.

        182.    In response to paragraph 182, it is admitted that Commissioner Rawls addressed

the stated issues although Defendants lack sufficient information or knowledge to admit or deny

the specific statements in paragraph 182.

        183.    Defendants are unable to admit or deny the allegations of paragarph 183.




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        184.    In response to paragraph 184, it is admitted that Commissioners addressed the

stated issues although Defendants lack sufficient information or knowledge to admit or deny the

specific statements in paragraph 184.

        185.    Defendans are unable to admit or deny the allegaitons of paragraph 185.

        186.    On information and belief the allegations of paragraph 186 are admitted.

        187.    In response to paragraph 187, it is admitted that the workhouse opened as stated

but it is denied that it contained 127 additional beds to what already existed at the jail.

        188.    Defendants deny the allegations of paragraph 188.

        189.    Defendants deny the allegations of paragraph 189 as alleged. In further response,

it is admitted the jail received certification for the referenced year.

        190.    In response to the allegations of paragraph 190, it is admitted the improvements at

the jail occurred and were noted.

        191.    Defendants admit the allegations of paragraph 191.

        192.    Defendants admit the allegations of paragraph 192.

        193.    In response to paragraph 193, it is admitted that Steve Lawson resigned his

position.

        194.    In response to paragraph 194, it is admitted that political candidate Lawson was

critical of his political opponent.

        195.    In response to paragraph 195, it is admitted that political candidate Lawson was

critical of his political opponent.

        196.    In response to the allegations of paragraph 196, it is admitted that Brian Smith

and Arnold Botts resigned.

        197.    Defendants are unable to admit or deny paragraph 197 at this time.



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        198.   In response to paragraph 198, it is admitted that there was an inspection in

February 2018.

        199.   Defendants admit the allegations of paragraph 199.

        200.   Defendants are unable to admit or deny the allegations of paragraph 200 at this

time.

        201.   Defendants are unable to admit or deny the allegations of paragraph 201 at this

time with the exception of the allegation that stacked beds were to be purchased, which is denied.

        202.   Defendants are unable to admit or deny the allegations of paragraph 202 at this

time.

        203.   Defendants are unable to admit or deny the allegations of paragraph 203 at this

time.

        204.   Defendants admit the allegations of paragraph 204.

        205.   In response to paragraph 205, the same is denied as alleged although it is admitted

that requests were made for transfers.

        206.   In response to paragraph 206, it is admitted TDOC initially denied having

received the requests but that such denial was in error.

        207.   Defendants deny the allegations of paragraph 207 as alleged.

        208.   In response to paragraph 208, it is denied that TDOC contacted Defendant

Watson but it is admitted there was a prisoner transfer.

        209.   On information and belief, the allegations of paragraph 209 are admitted.

        210.   In response to paragraph 210, it is denied that the prisoners were transported

without safety precautions being taken, which included all points restraint, multiple officers

being present, as well as a K-9 unit being present.



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       211.    The allegations of paragraph 211 are denied as alleged.

       212.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 212. In furthre response, these were general discussion in the context of

an election contest.

       213.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 213. In furthre response, these were general discussion in the context of

an election contest.

       214.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 214. In furthre response, these were general discussion in the context of

an election contest.

       215.    In response to paragraph 215, the referenced group was a polictical action

committee campaining against Defendant Watson and on behalf of now Defendant Watson. In

further response, it is admitted that the referenced group made complaints on social media about

Defendant Watson.

       216.    The allegations of paragraph 216 are denied.

       217.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 217.

       218.    The allegations of paragraph 218 are admitted.

       219.    The allegations of paragraph 219 are admitted in substance but the statement must

be placed in context.

       220.    The allegations of paragraph 220 are admitted in substance but the statement must

be placed in context.




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       221.     Defendants lack sufficient information or knowledge to form a belief as to the

pargraph 221.

       222.     The allegations of paragraph 222 are admitted.

       223.     In response to the allegations of paragraph 223, it is admitted that a portion of the

same includes what appears to be a press release.

       224.     Defendants deny the allegations of paragraph 224.

       225.     The allegations of the substance within the statements in paragraph 225 are

admitted.

       226.     In response to the allegations of paragraph 226, it is admitted that an inmate died

in April 2018 and that paragraph 226 contains a partial quote within an article from the

Cleveland Daily Banner.

       227.     Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 227.

       228.     Defendants deny the allegations of paragraph 228.

       229.     Defendants admit the allegations of paragraph 229.

       230.     Defendants admit the allegations of paragraph 230.

       231.     Defendants lack sufficieint information or knowledge to form a belief as to the

allegations of paragraph 231.

       232.     In response to the allegations of paragraph 232, it is admitted the jail was put on

lockdown.

       233.     Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 233.




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       234.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 234.

       235.    Defendants lack sufficient information or knowledge to form a belief as to the the

allegations of paragraph 235.

       236.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 236.

       237.    Defendants deny the allegations of paragraph 237.

       238.    Defendants admit the allegations of paragraph 238.

       239.    In response to the allegations of paragraph 239, it is admitted there was a fight

with an inmate being airlifted.

       240.    The allegations of paragraph 240 are denied as alleged.

       241.    In response to the allegations of paragraph 241, it is admitted there was a death in

the jail. The remaining allegations are denied.

       242.    The allegations of paragraph 242 are denied as alleged but it is admitted that

funds were returned as alleged.

       243.    In response to paragraph 243, it is admitted that a sweep was ordered and that

contraband was found.

       244.    Defendants are unable to admit or deny paragraph 244 at this time.

       245.    Defendants are unable to admit or deny paragraph 245 at this time. In further

repsonse, however, paragraph 245 appears to be in conflict with the allegations of paragraph 244.

       246.    The allegations of paragraph 246 are believed to be correct with the exception of

not knowing whether or not the designation of “top priorities” is accurate.

       247.    Upon information and belief the allegations of paragraph 247 are admitted.



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        248.   In response to paragraph 248, it is admitted that an inmate died in September

2018.

        249.   The allegations of paragraph 249 are denied as alleged.

        250.   In response to paragraph 250, upon information and belief no additional releases

have been made.

        251.   Defendants object to paragraph 251 pursuant to Rule 12(f) of the Federal Rules of

Civil Procedure.

               Defendant Watson’s Tenure was Marked by Controversy and
                       Allegations of Wrongdoing and Criminality

        252.   The allegations of paragraph 252 are denied as alleged. Defendants object to

paragraph 252 pursuant to Rule 12(f) of the Federal Rules of Civil Procedure. In further

response, Defendant Watson received recognition from federal, state, and local governments for

job performance as well as from the Tennessee Comptroller.

        253.   Defendants deny the allegations of paragraph 253.          In further response,

Defendants object to paragraph 253 pursuant to Rule 12(f) of the Federal Rules of Civil

Procedure.

        254.   In response to paragraph 254, it is admitted Defenadnt Watson’s wife became a

bail bondsman. The remaining allegations of paragraph 254 are denied. In further response,

Defendants object to paragraph 254 pursuant to Rule 12(f) of the Federal Rules of Civil

Procedure.

        255.   In response to the allegations of paragraph 255, it is admitted that Defendant

Watson he denied any wrongdoing and further admitted that he did anything wrong. It is further

admitted that Defendant Watson’s wife was successful in her job.           In further response,




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Defendants object to paragraph 255 pursuant to Rule 12(f) of the Federal Rules of Civil

Procedure.

       256.   Defendants deny the allegations of paragraph 256.            In further response,

Defendants object to paragraph 256 pursuant to Rule 12(f) of the Federal Rules of Civil

Procedure.

       257.   Defendants deny the allegations of paragraph 257.            In further response,

Defendants object to paragraph 257 pursuant to Rule 12(f) of the Federal Rules of Civil

Procedure.

       258.   Defendants deny the allegations of paragraph 258.            In further response,

Defendants object to paragraph 258 pursuant to Rule 12(f) of the Federal Rules of Civil

Procedure.

       259.   Defendants deny the substance of the allegations of paragraph 259. Defendants

lack information or knowledge as to the alleged whistleblower. In further response, Defendants

object to paragraph 259 pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.

       260.   Defendants are unable to admit or deny paragraph 260 at this time. In further

response, Defendants object to paragraph 260 pursuant to Rule 12(f) of the Federal Rules of

Civil Procedure.

       261.   In response to the allegations of paragraph 261, it is admitted that Defendant

Watson requested that Ms. Anderson be escorted to the sally port. The remaining allegations of

paragraph 261 are denied. In further response, Defendants object to paragraph 261 pursuant to

Rule 12(f) of the Federal Rules of Civil Procedure.

       262.   The allegations of paragraph 262 are admitted. In further response, Defendants

object to paragraph 262 pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.



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       263.    The allegations of paragraph 263 are admitted. In further response, it is averred

that Mr. Lipps had multiple warrants, including from jursidictions outside Bradley County. In

further response, Defendants object to paragraph 263 pursuant to Rule 12(f) of the Federal Rules

of Civil Procedure.

       264.    In response to paragraph 264, it is admitted that Defendant Watson was driving an

unmarked BCSO Tahoe with his wife and dressed as he was because he was returning from an

out of town trip while participating in the search for Mr. Lipps. In further response, Defendants

object to paragraph 264 pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.

       265.    In response to paragraph 265, it is admitted that Defendant Watson pulled over a

vehicle he believed was suspicious, that he had his gun drawn and that he made the driver get out

of the car. It is further admitted that there is a limited and edited video at the site referenced in

paragraph 265. In further response, Defendants object to paragraph 265 pursuant to Rule 12(f)

of the Federal Rules of Civil Procedure.

       266.    In response to the allegations of paragraph 266, it is admitted that Mr. Lipps was

ultimately arrested although Defendnat Watson was not present at that time.             It is further

admitted that on information and belief Mr. Lipps was bitten but a K-9 but it is denied that he

was pummeled. In further response, Defendants object to paragraph 266 pursuant to Rule 12(f)

of the Federal Rules of Civil Procedure.

       267.    Defendants admit the allegations of paragraph 267. In further response, all such

counts and charges against Defendant Watson were dismissed. In further response, Defendants

object to paragraph 267 pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.




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       268.    In response to paragraph 268, it is admitted an audit was performed, which

cleared without any impropriety.     In further response, Defendants object to paragraph 268

pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.

       269.    In response to paragraph 269, it is admitted that an investigation occurred and

further on information and belief cleared and resolved. In further response, Defendants object to

paragraph 269 pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.

      Allegations Specific to Plaintiff and Putative Class Representative Darrell Eden

       270.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 270.

       271.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 271.

       272.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 272.

       273.    In response to paragraph 273, it is admitted that on September 19, 2017, Plaintiff

consumed intoxicants.

       274.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 274.

       275.    In response to the allegations of paragraph 275, it is admitted on information and

belief that Plaintiff wrecked his automobile as the result of being under the influence of

intoxicants.

       276.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 276.




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       277.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 277.

       278.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of the first sentence of paragraph 278 except that it is admitted on

information and belief that Plaintiff was arrested as stated.

       279.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 279.

       280.    Defendants lack sufficieint information or knowledge to form a bleief as to the

allegations of paragraph 280.

       281.    Defendants lack sufficieint information or knowledge to form a bleief as to the

allegations of paragraph 281.

       282.    Defendants lack sufficieint information or knowledge to form a bleief as to the

allegations of paragraph 282.

       283.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 283.

       284.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 284 in that the same to an extent call for a medical

conclusion and opinion.

       285.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 285, but such actions would be consistent with jail

protocol.

       286.    On information and belief Defendants deny the allegations of paragraph 286.

       287.    On information and belief Defendants deny the allegations of paragraph 287.



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       288.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 288.

       289.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 289.

       290.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 290 as to what was specifically told to Mrs. Eden.

       291.    Defendants lack sufficient information or knowledge to form a belief as to the

allegations of paragraph 291 as to what Plaintiff believed or as it relates to his background.

       292.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 292 as to what Plaintiff believed.

       293.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 293.

       294.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 294.

       295.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 295 at this time.

       296.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 296 at this time.

       297.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 297 at this time.

       298.    Defendants lack sufficient infomration or knowledge to form a belief as to the

veracity of the allegations of paragraph 298 at this time.




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        299.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 299 at this time.

        300.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 300.

        301.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 301.

        302.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 302.

        303.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 303.

        304.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 304 at this time.

        305.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 305.

        306.     In response to paragraph 306, on information and belief, Plaintiff was released

from the jail.

        307.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 307 at this time.

        308.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 308 at this time although it is admitted that Plaintiff

would have been fingerprinted as required.

        309.     Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 309.



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       310.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 310.

       311.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 311.

       312.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 312.

       313.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 313.

       314.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 314.

       315.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 315.

       316.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 316.

       317.    Defendants lack sufficient information or knowledge to form a belief as to the

veracity of the allegations of paragraph 317.

       318.    In response to paragraph 318, on information and belief it is admitted that the

criminal charges against Plaintiff were ultimately dismissed.

                                    CLASS ALLEGATIONS

       319.    Paragraph 319 fails to make an allegation of fact but rather makes a statement of

law. In further support, Defendants deny and dispute that a Class Action is appropriate or that

Plaintiff has satisfied the legal requirements for the same.




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       320.      In response to paragraph 320, the first sentence of the same fails to make an

allegation of fact but rather states a conclusion. Defendants deny the remaining allegations of

paragraph 320.

       321.      The allegations of paragraph 321 are denied as alleged.

       322.      The allegations of paragraph 322 are denied as alleged.

       323.      Paragraph 323 fails to make an allegation of fact. In further response, Defendants

deny that Class Action status is appropriate in this matter.

       324.      Defendants deny the allegations of paragraph 324.

       325.      Defendants deny the allegations of paragraph 325.

       326.      Defendants deny the allegations of paragraph 326.

       327.      Defendants deny the allegations of paragraph 327.

       328.      Defendants deny the allegations of paragraph 328.

       329.      Defendants deny the allegations of paragraph 329.

       330.      Defendants deny the allegations of paragraph 330.

                                   CAUSES OF ACTION
 Count I: 42 United States Code Section 1983 – Violations of the Eighth and Fourteenth
                      Amendments to the United States Constitution
(as to Bradley County, Defendant Watson, in his official and individual capacities, Captain
 Thomas, in his official and individual capacities, and John and Jane Doe, in their official
                                 and individual capacities)

       331.      Defendants incorporate by reference their answers to paragraphs 1-330 above as if

set out verbatim herein.

       332.      Defendants deny the allegations of paragraph 332.

       333.      In response to paragraph 333, Defendants are unable to admit or deny the same

based on the uncertainty as to the meaning of the phrase “at all times relevant hereto.” In further




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response, it is admitted that at various times referenced in the Complaint, Defendants Watson

and Thomas acted within the course and scope of their employment.

              Bradley County’s Violation of Mr. Eden’s Constitutional Rights

       334.   Paragraph 334 fails to make an allegation of fact but rather states a conclusion of

law.

       335.   Defendants deny the allegations of paragraph 335.

       336.   Defendants deny the allegations of paragraph 336.

       337.   Paragraph 337 makes allegations of fact against the John Doe and Jane Doe

Defendants and therefore no response is required of these Defendants.

       338.   Defendants deny the allegations of paragraph 338.

       339.   Defendants deny the allegations of paragraph 339.

       340.   Defendants deny the allegations of paragraph 340.

       341.   Defendants deny the allegations of paragraph 341.

       342.   Defendants deny the allegations of paragraph 342.

       343.   Defendants deny the allegations of paragraph 343.

                              Failure to Train and/or Supervise

       344.   Defendants deny the allegations of paragraph 344.

       345.   Defendants deny the allegations of paragraph 345.

       346.   Defendants deny the allegations of paragraph 346.

       347.   Defendants deny the allegations of paragraph 347.

       348.   Defendants deny the allegations of paragraph 348.

       349.   Defendants deny the allegations of paragraph 349.

       350.   Defendants deny the allegations of paragraph 350.



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       351.    Defendants deny the allegations of paragraph 351.

       352.    Defendants deny the allegations of paragraph 352.

     Existence of a Custom of Tolerance or Acquiescence of Federal Rights Violations

       353.    Defendants deny the allegations of paragraph 353.

       354.    Defendants deny the allegations of paragraph 354.

       355.    Defendants deny the allegations of paragraph 355.

       356.    Defendants deny the allegations of paragraph 356.

       357.    Defendants deny the allegations of paragraph 357.

       358.    Defendants deny the allegations of paragraph 358.

                    Liability of John Doe and Jane Doe Under Section 1983

       359.    Defendants deny the allegations of paragraph 359.

       360.    Defendants deny the allegations of paragraph 360.

       361.    Defendants deny the allegations of paragraph 361.

       362.    Defendants deny the allegations of paragraph 362.

       363.    Paragraph 363 makes allegations against John Doe and Jane Doe and therefore no

response is required of these Defendants.

          Liability of Defendant Watson and Captain Thomas Under Section 1983

       364.    Defendants deny the allegations of paragraph 364.

       365.    Defendants deny the allegations of paragraph 365.

       366.    Defendants deny the allegations of paragraph 366.

       367.    In response to paragraph 367, it is admitted that Defendants Watson and Thomas

had authority over the jail.

       368.    The allegations of paragraph 368 are denied as alleged.



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       369.    In response to paragraph 369, the terms of the HAS speak for themselves.

       370.    In response to paragraph 370, it is admitted that document completion and

overcrowding were identified issues.

       371.    Defendants deny the allegations of paragraph 371.

       372.    Defendants deny the allegations of paragraph 372.

       373.    Defendants deny the allegations of paragraph 373.

               Count II: Willful and Wanton Coduct and/or Gross Negligence

(as to Bradley County, Defendant Watson, in his official capacity and individual capacities,
 Captain Thomas, in his official and individual capacities, and John and Jane Doe, in their
                             official and individual capacities)

       374.    Defendants incorporate by reference their answers to paragraphs 1 – 373 above as

if set out verbatim herein.

       375.    Paragraph 375 fails to make an allegation of fact but rather states a conclusion of

law.

       376.    Defendants are not able to admit or deny the allegations of paragraph 376 as the

same fails to provide a definition of “at all times relevant to this action.” In further response, at

various times as referred to in this Complaint, Defendants Watson and Thomas acted within the

course and scope of their employment.

       377.    Defendants deny the allegations of paragraph 377.

       378.    Defendants deny the allegations of paragraph 378.

       379.    Defendants deny the allegations of paragraph 379.

       380.    Defendants deny the allegations of paragraph 380.

       381.    Defendants deny the allegations of paragraph 381.

       382.    Defendants deny the allegations of paragraph 382.



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       383.    Defendants deny the allegations of paragraph 383.

       384.    Defendants deny the allegations of paragraph 384.

       385.    Defendants deny the allegations of paragraph 395.

              Count III: Negligence – Ordinary Negligence, Negligence Per Se,
                           Negligent Training and Supervision

(as to Bradley County, Defendant Watson, in his official capacity and individual capacities,
 Captain Thomas, in his official and individual capacities, and John and Jane Doe, in their
                             official and individual capacities)

       386.    Defendants incorporate by reference their answers to paragraphs 1 – 385 above as

if set out verbatim herein.

       387.    Defendants are not able to admit or deny the allegations of paragraph 387 as the

same fails to provide a definition of “at all times relevant to this action.” In further response, at

various times as referred to in this Complaint, Defendants Watson and Thomas acted within the

course and scope of their employment.

       388.    Paragraph 388 fails to make an allegation of fact but rather states a conclusion of

law.

       389.    Paragraph 389 fails to make an allegation of fact but rather states a conclusion of

law. In further response to paragraph 389, it is admitted that adequate medical treatment as

warranted and required is to be provided to inmates confined in jail.

       390.    Defendants deny the alleagtions of paragraph 390.

       391.    Defendants deny the allegations of paragraph 391.

       392.    Defendants deny the allegations of paragraph 392.

       393.    Defendants deny the allegations of paragraph 393.

       394.    Defendants deny the allegations of paragraph 394.

       395.    Defendants deny the allegations of paragraph 395.


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       396.    Defendants deny the allegations of paragraph 396.

       397.    Defendants deny the allegations of paragraph 397.

                                 Count IV: Punitive Damages

(as to Bradley County, Defendant Watson, in his official capacity and individual capacities,
 Captain Thomas, in his official and individual capacities, and John and Jane Doe, in their
                             official and individual capacities)

       398.    Defendants incorporate by reference their answers to paragraphs 1 – 397 above as

if set out verbatim herein.

       399.    Defendants deny the allegations of paragraph 399.

       400.    Defendants deny the allegations of paragraph 400.

       401.    Defendants deny the allegations of paragraph 401.

       402.    Defendants deny the allegations of paragraph 402.

       403.    Defendants deny the allegations of paragraph 403.

       404.    Defendants deny the allegations of paragraph 404.

       405.    Defendants deny the allegations of paragraph 405.

       406.    And all other allegations not specifically admitted, denied, or otherwise explained

be and the same are hereby denied.

                                       FIRST DEFENSE

       Plaintiff’s Complaint or portions of the Complaint fail to state a claim upon which relief

can be granted. Plaintiff’s Complaint is in violation of Rule 8 of the Federal Rules of Civil

Procedure, which provides that a pleading shall set forth a short and plain statement of Plaintiff’s

claim. Plaintiff’s Complaint is in excess of 400 paragraphs and contains confusing, misleading,

and incomplete facts and allegations. Plaintiff’s Complaint is further in violation of Rule 12(f) of

the Federal Rules of Civil Procedure in that it contains statements that are redundant, immaterial,



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impertinent, or of a scandalous nature.      Plaintiff’s Complaint further fails to clearly and

definitively state how Defendants Watson and Thomas are individually liable or responsible and

therefore all claims against them in their individual capacity must be dismissed.

                                      SECOND DEFENSE

        To the extent that Plaintiff has relied upon vicarious liability for any causes of action

based upon 42 U.S.C. § 1983 or other civil rights claims, vicarious liability, including respondeat

superior is not applicable to said civil rights causes of action, and any causes of action based

upon any form of vicarious liability should be dismissed.

                                       THIRD DEFENSE

        Defendants are not liable or responsible for alleged violations of the Eighth Amendment

and Defendants deny there were violations of Plaintiff’s Eighth Amendment rights. Defendants

did not act with deliberate indifference to any serious medical need of Plaintiff and therefore

cannot be held liable for any alleged denial of medical care in violation of the Eighth

Amendment to the United States Constitution.

                                      FOURTH DEFENSE

        Defendant Bradley County is a governmental entity and the claims against Eric Watson

and Gabe Thomas constitute a suit against Bradley County.             Punitive damages are not

recoverable from a Bradley County, a governmental entity, in a § 1983 action to the extent

claimed in this litigation.

                                       FIFTH DEFENSE

        Defendants rely upon all common law and statutory immunity provisions, including, but

not limited to the immunity provisions of the Tennessee Governmental Tort Liability Act Tenn.




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Code Ann. § 29-20-201 et seq., including without limitation, the applicable exceptions to

removal of immunity under Tenn. Code Ann. § 29-20-205.

                                        SIXTH DEFENSE

       All or portions of Plaintiff’s claims are barred by other forms and versions of immunity

including good faith immunity, common-law immunity, and sovereign immunity, all of which

are specifically plead and relied upon by Defendants to include any and all limits and defenses

available pursuant to Tenn. Code Ann. § 8-8-303. Defendant Watson relies upon the immunity

provisions of T.C.A. § 8-8-301.

                                       SEVENTH DEFENSE

       Plaintiff’s claims are subject to the Tennessee Health Care Liability Act and Plaintiff

failed to comply with the requirements of Tenn. Code Ann. §§ 29-26-121 and 122.

                                       EIGHTH DEFENSE

       Plaintiff is not entitled to punitive damages as Defendants did not act in a manner

sufficient to give rise to the same.

                                        NINTH DEFENSE

       Defendants deny that Plaintiff has satisfied or can satisfy the requirements of Rule 23 of

the Federal Rules of Civil Procedure regarding class action and class status.          Defendants,

without assuming the burden of proof, deny that the class is so numerous that joinder of all

members is impracticable, deny there are common questions of law or fact to the class, deny the

claims or defenses of the representative parties are typical of the claims or defenses of the class

and deny that the representative party will fairly and adequately protect the interest of the class.

It is further denied and disputed that Plaintiff has met, satisfied, or can meet or satisfy the

obligations of Rule 23(b) of the Federal Rules of Civil Procedure. Therefore, Plaintiff’s prayer



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for class certification must be denied. Defendants further dispute and deny that Plaintiff has

standing to obtain any recovery for the ostensible class to specifically include but not necessarily

be limited to injunctive relief.

                                       TENTH DEFENSE

       Defendants deny they were negligent in any manner as alleged and set forth in Plaintiff’s

Complaint and further deny that Plaintiff is entitled to the recovery of any damages from them.

Defendants further deny that Plaintiff is entitled to damages for gross negligence or willful or

wanton conduct. Defendants pray that all such claims be denied and dismissed.              Further,

Defendants assert and raise the comparative negligence and actions of Plaintiff as being the

proximate cause of his alleged injuries. Pursuant to his comparative negligence Plaintiff is not

entitled to the relief prayed for in his Complaint or alternatively any recovery Plaintiff may have

must be reduced based on his comparative negligence.

                                    ELEVENTH DEFENSE

        Plaintiffs are not entitled to an award of pre-judgment interest and/or attorney’s fees on

certain causes of action set forth in their Complaint, to include but not specifically be limited to

all claims for negligence and gross negligence.

                                     TWELFTH DEFENSE

        Defendant denies that Plaintiff’s Complaint fails to properly and sufficiently identify a

policy or custom connected to Bradley County that has caused or resulted in a Constitutional

deprivation or injury. Therefore, Plaintiff’s claims for custom or policy violations must be

dismissed.




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                                   Respectfully submitted,

                                   SPICER RUDSTROM, PLLC

                                   By:    /s/ B. Thomas Hickey, Jr.
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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 21st day of November, 2018, I electronically filed this
document along with any exhibits with the Clerk of Court using the CM/ECF system which will
automatically send e-mail notification of such filing to the following attorneys of record:

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